             Case 1:18-cv-07315-ALC-GWG Document 64 Filed 02/19/19 Page 1 of 6




                                               STATE OF NEW YORK
                                         OFFICE OF THE ATTORNEY GENERAL

 LETITIA JAMES                                                                                    DIVISION OF STATE COUNSEL
ATTORNEY GENERAL                                                                                        LITIGATION BUREAU

                                            Writer’s Direct Dial: (212) 416-8227
                                                          February 19, 2019
    BY ECF
    Honorable Andrew L. Carter, Jr.
    United States District Judge
    Southern District of New York
    40 Foley Square, Room 435
    New York, NY 10007

               Re:     Marquez v. Hoffman, et al., No. 18-cv-07315 (ALC) (GWG)

    Dear Judge Carter:

            This Office represents Defendants Hon. Saliann Scarpulla, Hon. George Silver, Hon.
    Lawrence Marks, John McConnell, Lauren Desole, Kay-Ann Porter, Lisa Evans, Hon. Lori Sattler,
    Denis Reo, Lucian Chalfen, Hon. Eugene Fahey, Hon. Paul Feinman, Hon. Michael Garcia, Hon.
    Jenny Rivera, Hon. Leslie Stein, Hon. Rowan Wilson, and Chief Judge Janet DiFiore, and the State
    of New York (collectively, the “State Defendants”), in the above-referenced action, brought by
    Plaintiff Alexis Marquez (“Plaintiff”), pursuant to 42 U.S.C. § 1983 (“§ 1983”), the New York
    State Human Rights Law (“NYSHRL”) and other state laws, and the New York City Human Rights
    Law (“NYCHRL”). In accordance with this Court’s Individual Practices § 2.A., the State
    Defendants respectfully request a pre-motion conference in anticipation of their motion to dismiss.
                                        Procedural and Factual Background
            Plaintiff asserts claims for retaliation and gender and race-based discrimination and
    harassment, as well as fraud and several torts, based on: (i) alleged discrimination and harassment
    that occurred over a 5-week period in 2017, during which Plaintiff was employed as Defendant
    Justice Douglas Hoffman’s (“Justice Hoffman”)1 principal court attorney in his civil part of the
    Supreme Court of New York, and (ii) the State Defendants’ alleged mishandling of Plaintiff’s
    complaints against Justice Hoffman and her employment separation.

            Justice Hoffman hired Plaintiff to be his principal court attorney, commencing on
    September 13, 2017. (¶¶ 43, 47.)2 Plaintiff alleges that from the outset of her employment in
    Justice Hoffman’s chambers, he engaged in conduct that made her “acutely uncomfortable,” (¶
    48), including alleged discussions concerning personal matters, (¶¶ 50-51, 57-60, 88-90, 175), and
    making audacious or inappropriate requests of Plaintiff, (¶¶ 53-56, 67-71, 75-76, 168). Plaintiff
    1
        Counsel for Justice Hoffman appeared by separate counsel on January 7, 2019. See ECF Nos. 55-57.
    2
        All citations that appear in parentheticals preceded by “¶” refer to paragraphs of the Complaint.
                  28 LIBERTY STREET, NEW YORK, NY 10005 ● PHONE (212) 416-8610 ● * NOT FOR SERVICE OF PAPERS
                                                      WWW.AG.NY.GOV
       Case 1:18-cv-07315-ALC-GWG Document 64 Filed 02/19/19 Page 2 of 6


alleges she was terminated from her position on October 19, 2017, but also alleges that, on October
23, 2017, Plaintiff informed Justice Hoffman that she would be “taking leave” until she could
secure a transfer to another position with the Unified Court System (“UCS”). (See ¶¶ 47, 159-160.)

         At approximately the same time, Plaintiff allegedly informed State Defendant Hon.
Scarpulla of her alleged complaint against Justice Hoffman by way of a hand-delivered letter. (¶¶
215-231.) Plaintiff also attempted to obtain a position in the chambers of State Defendant Deputy
Chief Administrative Judge George Silver, but was unable to secure that position, or another like
it, allegedly due to her complaint against Justice Hoffman. (¶¶ 239-260, 282-305, 385.)

        Meanwhile, Kay-Ann Porter, the Managing Inspector General for Bias Matters at UCS,
allegedly attempted to investigate Plaintiff’s complaint against Justice Hoffman, including by
requesting that Plaintiff submit to an interview, which Plaintiff repeatedly refused. (¶¶ 312-343,
346-347, 350-351.) Lauren Desole, Director of Human Resources, similarly attempted to
investigate Plaintiff’s complaint, and on November 22, 2017, Plaintiff submitted an 11-page
written statement. (¶¶ 335-336, 371-389.) Plaintiff was allegedly demoted shortly thereafter, and
allegedly terminated on December 15, 2017. (¶¶ 336, 349, 390-405.)

        Between October 2017 and March 2018, Plaintiff emailed various State Defendants,
including all of the Court of Appeals associate justices, Chief Administrative Judge Lawrence
Marks, Chief Judge Janet DiFiore, and other UCS personnel, concerning her complaints against
Justice Hoffman, and the subsequent events. (¶¶ 7, 345-348, 436, 458-460, 516-528.) Plaintiff
also alleges that Lucian Chalfen defamed Plaintiff by characterizing her lawsuit as “frivolous.” (¶¶
353-354, 761-767.)
                                Grounds for Dismissal of the Complaint
        Based on the foregoing, Plaintiff filed a 785-paragraph complaint containing 23 causes of
action against Justice Hoffman and the State Defendants.3 (¶¶ 660-768.) For the reasons set forth
below and others to be presented at the requested pre-motion conference and in the State
Defendants’ anticipated motion, none of Plaintiff’s claims against the State Defendants is viable.

    A. Plaintiff Fails to Sufficiently Allege Personal Involvement

       Plaintiff asserts five claims under § 1983, all of which fail as to each State Defendant as a
matter of law for a variety of reasons.4 (¶¶ 660-688.) Primarily, however, “[a]n individual may be
held liable under §. . . 1983 only if that individual is personally involved in the alleged
deprivation.” Littlejohn v. City of New York, 795 F.3d 297, 314 (2d Cir. 2015). A plaintiff must
likewise sufficiently allege each defendant’s personal involvement in order to have a viable claim
under the NYSHRL or the NYCHRL. See, e.g., Daniels v. City of New York, No. 17 Civ. 9960,
2019 WL 251511, at *5 (S.D.N.Y. Jan. 17, 2019).

        Here, Plaintiff does not and cannot allege that any State Defendant was personally involved
in the alleged deprivation of any constitutional right. Instead, Plaintiff premises her claims on
nothing more than her outreach to the State Defendants and her dissatisfaction with their responses.
However, “the receipt of letters or grievances, by itself, does not amount to personal involvement.”

3
 Appended hereto is a table summary of each of Plaintiff’s claims asserted against each State Defendant.
4
 Plaintiff’s claims are too numerous to discuss individually here, thus the State Defendants respectfully request the
opportunity to present specific arguments pertaining to each claim at the requested pre-motion conference.
       Case 1:18-cv-07315-ALC-GWG Document 64 Filed 02/19/19 Page 3 of 6


Mateo v. Fischer, 682 F. Supp. 2d 423, 430 (S.D.N.Y. 2010) (listing cases); see also Cater v. New
York, 316 F. Supp. 3d 660, 666 (S.D.N.Y. 2018) (dismissing § 1983 claims because plaintiff
alleged only that she transmitted complaints to state officials, but “was dissatisfied with their
responses”); Bogart v. New York City Law Dept, No. 00 Civ. 7417, 2001 WL 1631986, at *4
(S.D.N.Y. Dec. 20, 2001) (dismissing claim that defendant participated in alleged discrimination
by not investigating the plaintiff’s complaint on personal involvement grounds). Plaintiff’s § 1983,
NYSHRL, and NYCHRL claims premised on her alleged complaints by email or letter without
more fail to allege the requisite personal involvement of any State Defendant.

    B. The Complaint Fails to State a Claim

         Each of Plaintiff’s claims asserted against the State Defendants fails as a matter of law.
Critically, at all relevant times, Plaintiff was the principal court attorney in Justice Hoffman’s
chambers, (¶¶ 2, 47,) which is a position left to the discretion of the hiring judge, pursuant to N.Y.
JUDICIARY LAW § 36 and N.Y. Ct. R. 5.1. All of Plaintiff’s discrimination, harassment, and
retaliation claims thus necessarily fail because no State Defendant is alleged to have been
Plaintiff’s employer. This includes Plaintiff’s Title VII claims against the State of New York, as
it is well-settled that the employer, not the State, is the proper defendant. See, e.g., Palmer v. New
York State Office of Court Admin., No. 6:07 Civ. 702, 2010 WL 3724115, at *4 n.2 (N.D.N.Y.
Sept. 15, 2010), aff’d, 526 F. App’x 97 (2d Cir. 2013) (dismissing State in Title VII action brought
by employee of OCA); see also Bland v. New York, 263 F. Supp. 2d 526, 545 (E.D.N.Y. 2003)
(dismissing Title VII claim brought by state court justice’s secretary). Likewise, Plaintiff’s
NYSHRL and NYCHRL claims fail on these same grounds.5 See Patrowich v. Chem. Bank, 63
N.Y.2d 541, 542 (limiting employer liability under NYSHRL to those with “ownership interest or
any power to do more than carry out personnel decisions made by others”); see also e.g.,
Goonewardena v. New York Workers Comp. Bd., 258 F. Supp. 3d 326, 346 (S.D.N.Y. 2017).

        Plaintiff also fails to state a claim with respect to her state law causes of action. For
example, Plaintiff asserts an unjust enrichment claim against State Defendant Hon. Scarpulla, for
whom Plaintiff was previously a law clerk. (¶¶ 751-759.) However, Plaintiff fails to allege the
basic elements of that claim, as there is no allegation that Justice Scarpulla received money or
other value from Plaintiff without compensation. Brumfield v. Trader Joe’s Co., No. 17 Civ. 3239,
2018 WL 4168956, at *4 (S.D.N.Y. Aug. 30, 2018).6

    C. The Complaint Violates FRCP 8

        Finally, in violation of FRCP 8, the Complaint impermissibly “contain[s] a labyrinthian
prolixity of unrelated and vituperative charges.” Prezzi v. Schelter, 469 F.2d 691, 692 (2d Cir.
1972). Among other deficiencies, Plaintiff (i) has no private cause of action based on the alleged
revision of the UCS sexual harassment policy, (¶¶ 538-573,) (ii) lacks standing to challenge UCS’s
hiring practices, (¶¶ 574-659,) and (iii) has no right to the demanded injunctive relief, including a
monitor over UCS administration, (¶¶ 771-778.)

5
  This Court also lacks subject matter jurisdiction over the NYCHRL claims because, while Plaintiff purports to assert
NYCHRL claims against the Individual Defendants in their individual capacities, the claims are properly regarded as
claims against the State because they are based upon the Individual Defendants’ actions as part of their official roles.
See Morell v. Batasubramanian, 70 N.Y.2d 297, 301 (1987) (“[a] suit against a State officer will be held to be one
which is really asserted against the State when it arises from actions or determinations of the officer made in his or
her official role and involves rights asserted, not against the officer individually, but solely against the State.”).
6
  Plaintiff’s claim for negligence, defamation, fraud, or intentional infliction of emotional distress fare no better.
        Case 1:18-cv-07315-ALC-GWG Document 64 Filed 02/19/19 Page 4 of 6



      We appreciate the Court’s consideration of this request and its attention to this matter.

                                                Respectfully submitted,

                                                /s/ Monica Hanna

                                                Monica Hanna
                                                Assistant Attorney General
cc:      Counsel for all parties (by ECF)

Attachment
      Case 1:18-cv-07315-ALC-GWG Document 64 Filed 02/19/19 Page 5 of 6


                                            Appendix A
          Summary of Plaintiff’s Claims and Corresponding State Defendants

No.     ¶¶                 Claim                        The State Defendant(s)
 1     660-                                    Hon. Scarpulla, Hon. Silver, Hon. Marks,
       665                                    Mr. McConnell, Ms. Desole, Ms. Porter, Ms.
                  Equal Protection Under      Evans, Hon. Sattler, Mr. Reo, Mr. Chalfen,
                    § 1983 (Retaliation)       Hon. Fahey, Hon. Feinman, Hon. Garcia,
                                              Hon. Rivera, Hon. Stein, Hon. Wilson, and
                                                             Hon. DiFiore
2      666-                                    Hon. Scarpulla, Hon. Silver, Hon. Marks,
                   Conspiracy to Retaliate
       669                                    Hon. DiFiore, Mr. McConnell, Ms. Desole,
                        Under § 1983
                                                  Ms. Porter, Ms. Evans, and Mr. Reo
3      670-                                    Hon. Scarpulla, Hon. Silver, Hon. Marks,
       675     Equal Protection Under § 1983  Hon. DiFiore, Mr. McConnell, Ms. Desole,
              (Discrimination and Harassment)     Ms. Porter, Hon. Sattler, Ms. Evans,
                                                              and Mr. Reo
4      676-                                    Hon. Silver, Hon. Marks, Mr. McConnell,
       684                                     Ms. Desole, Ms. Porter, Ms. Evans, Hon.
                 Due Process Under § 1983      DiFiore, Hon. Fahey, Hon. Feinman, Hon.
                                                   Garcia, Hon. Rivera, Hon. Stein,
                                                              Hon. Wilson
5      685-                                     Hon. Silver, Hon. Marks, Hon. DiFiore,
                  First Amendment Under
       688                                     Mr. McConnell, Ms. Desole, Ms. Porter,
                    § 1983 (Retaliation)
                                                               Ms. Evans
6      689-     Equal Protection (Complaint
                                                    Hon. DiFiore (official capacity)
       692       Practices and Procedures)
7      693-           Equal Protection
                                                    Hon. DiFiore (official capacity)
       696           (Hiring Practices)
8      697-           Equal Protection
                                                    Hon. DiFiore (official capacity)
       700      (Sexual Harassment Policy)
9      701-
                    Title VII Retaliation                        State of NY
       703
10     704-     Title VII Discrimination and
                                                                 State of NY
       706               Harassment
11     707-                                         Hon. Marks, Hon. DiFiore, Hon. Fahey,
       709      N.Y. Const., Art. VI, § 28(c)      Hon. Feinman, Hon. Garcia, Hon. Rivera,
                                                           Hon. Stein, Hon. Wilson
12     710-                                        Hon. Scarpulla, Hon. Silver, Hon. Marks,
       713                                        Mr. McConnell, Ms. Desole, Ms. Porter, Ms.
                                                  Evans, Hon. Sattler, Mr. Reo, Mr. Chalfen,
              NYSHRL, NYCHRL Retaliation
                                                   Hon. Fahey, Hon. Feinman, Hon. Garcia,
                                                  Hon. Rivera, Hon. Stein, Hon. Wilson, and
                                                                Hon. DiFiore
      Case 1:18-cv-07315-ALC-GWG Document 64 Filed 02/19/19 Page 6 of 6


No.     ¶¶                Claim                        The State Defendant(s)
13     714-                                    Hon. Scarpulla, Hon. Silver, Hon. Marks,
       717         NYSHRL, NYCHRL             Hon. DiFiore, Mr. McConnell, Ms. Desole,
              Discrimination and Harassment    Ms. Porter, Hon. Sattler, Ms. Evans, and
                                                               Mr. Reo
14     718-                                    Hon. Scarpulla, Hon. Silver, Hon. Marks,
       721                                    Hon. DiFiore, Hon. McConnell, Ms. Desole,
                Negligence and Negligent          Ms. Porter, Ms. Evans, Hon. Sattler,
                      Supervision                Mr. Reo, Hon. Fahey, Hon. Feinman,
                                                 Hon. Garcia, Hon. Rivera, Hon. Stein,
                                                              Hon. Wilson
15     722-                                    Hon. Scarpulla, Hon. Silver, Hon. Marks,
       725                                    Mr. McConnell, Ms. Desole, Ms. Porter, Ms.
                 Intentional Infliction of    Evans, Hon. Sattler, Mr. Reo, Mr. Chalfen,
                   Emotional Distress          Hon. Fahey, Hon. Feinman, Hon. Garcia,
                                              Hon. Rivera, Hon. Stein, Hon. Wilson, and
                                                             Hon. DiFiore
16     726-                                    Hon. Scarpulla, Hon. Silver, Ms. Desole,
                          Fraud
       729                                         Ms. Porter, Ms. Evans, Mr. Reo
17     730-
                 Fraudulent Inducement                       Hon. Sattler
       733
22     751-
                   Unjust Enrichment                        Hon. Scarpulla
       759
23     760-
                       Defamation                            Mr. Chalfen
       768
